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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :   Hon. Joseph A. Dickson
                                       :
      v.                               :   Mag. No. 20-8102
                                       :
YEZENIA CASTILLO                       :   ORDER FOR A CONTINUANCE
    a/k/a “Yezenia Maldanado”          :

      This matter having come before the Court on the joint application of

Craig Carpenito, United States Attorney for the District of New Jersey (by Vijay

Dewan and Sammi Malek, Assistant United States Attorneys), and defendant

Yezenia Castillo (by John Boulton, Esq.), for an order granting a continuance of

the proceedings in the above-captioned matter from the date this Order is

signed through and including December 30, 2020 to permit defense counsel

the reasonable time necessary for effective preparation in this matter and to

allow the parties to conduct plea negotiations; and the defendant, through his

attorney, having consented to the continuance; and this being the fourth

request for a continuance in this matter, and for good and sufficient cause

shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      (1) Defense counsel requires additional time to examine the pleadings

and gather facts;

      (2) The grant of a continuance will likely conserve judicial resources; and
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      (3) Plea negotiations are anticipated, and the parties desire additional

time to negotiate a plea agreement, which would render any subsequent trial of

this matter unnecessary; and

      (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

      WHEREFORE, it is on this 29th
                               ___ day of September, 2020;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including December 30, 2020; and it is

further

      ORDERED that the period from the date this Order is signed through

and including December 30, 2020 shall be excludable in computing time under

the Speedy Trial Act of 1974.

                                     s/Joseph A. Dickson
                                     HONORABLE JOSEPH A. DICKSON
                                     United States Magistrate Judge

Form and entry consented to:


/s/ John Boulton
John Boulton
Counsel for Defendant


/s/ Vijay Dewan

Vijay Dewan
Assistant U.S. Attorney
